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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

                Plaintiff,
                                                     Civil Action No. 1:20–cv–02935–CKK
 v.

 STEPHANIE WINSTON WOLKOFF,

                Defendant.



                             NOTICE OF VOLUNTARY DISMISSAL

       Please take notice that Plaintiff voluntarily dismisses this action pursuant to Federal Rule

of Civil Procedure 41(a)(1)(A)(i).



DATED: February 8, 2021                           Respectfully submitted,

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                                                  Acting Assistant Attorney General

                                                  ALEXANDER K. HAAS
                                                  Branch Director
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                                                  /s/ Elliott M. Davis
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